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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN




IN RE:   PERRY G HOLDEN II                                                   CASE NO: BG-23-01335
         4694 WESTSHIRE DR NW                                                Chapter 13
         COMSTOCK PARK, MI 49321-9324                                        HON. JAMES W. BOYD
                                                                             Filed: June 09, 2023

                                                                             Confirmed:   October 27, 2023




                        TRUSTEE'S MOTION TO DISMISS CHAPTER 13 CASE
         NOW COMES, Barbara P. Foley, Chapter 13 Trustee ("Trustee") and files her Motion to Dismiss for the

following reasons:

         FAILURE TO MAKE PAYMENTS ACCORDING TO THE CHAPTER 13 PLAN. THE LAST PAYMENT OF
         $1,780.00 WAS RECEIVED ON OCTOBER 31, 2023. PAYMENTS SHOULD BE $3,750.00 MONTHLY.
         THE PLAN ARREARS ARE ESTIMATED AT $15,800.00.

         WHEREFORE, your Trustee respectfully prays:

         A. That this Court enter an Order dismissing the Debtor 's Chapter 13 Case.

         B. That this Court grant such other relief as it finds just and equitable.

         C. Upon dismissal of the Chapter 13 case, the Trustee has cause pursuant to 11 U.S. C. § 349(b) and

             may retain any funds on hand for such time as is necessary to accommodate the dishonor or recall

             period appropriate to the method of payment received.



January 18, 2024                                                     /s/ Barbara P. Foley
                                                                    Barbara P. Foley (P34558)
                                                                    CHAPTER 13 TRUSTEE
                                                                    Po Box 51109
                                                                    Kalamazoo, MI 49005
                                                                    (269)343-0305

This document has been electronically filed with the Court and the Attorney for Debtor and mailed to the Debtor.

Attorney for Debtor:

         CHASE & BYLENGA PLLC
         25 DIVISION AVE SOUTH STE 500
         GRAND RAPIDS, MI 49503
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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN



PERRY G HOLDEN II                                                            CASE NO: BG-23-01335
4694 WESTSHIRE DR NW                                                         Chapter 13
COMSTOCK PARK, MI 49321-9324                                                 HON. JAMES W. BOYD
                                                                             Filed: June 09, 2023
                                      NOTICE OF MOTION TO DISMISS

        NOTICE IS HEREBY GIVEN that the Chapter 13 Trustee has filed a Motion to Dismiss in the above

captioned proceeding. A copy of said Motion is attached to this Notice.

        Your rights may be affected. You should read these papers carefully and discuss them with your

attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult

one.)

          The Debtor may file a written objection to the Trustee 's Motion to Dismiss with:




Clerk of the Bankruptcy Court                                      Barbara P. Foley
One Division Avenue N                                              Chapter 13 Trustee
                                                  AND
Room 200                                                           Po Box 51109
Grand Rapids, MI 49503                                             Kalamazoo, MI 49005
                                                                   (269)343-0305

        In compliance with Local Bankruptcy Rule 9013(d) and Federal Rules of Bankruptcy Procedure 9013 and

9014, said written objection shall be filed within thirty (30) days from the date of service of the Trustee 's Motion. If

an objection is filed, a hearing will be held on April 18, 2024 at 9:00 am at the Bankruptcy Court, U.S. Bankruptcy

Court, One Division Ave. NW, 3rd Floor, Courtroom B, Grand Rapids, Michigan. If a proper objection is not timely

filed the Trustee may file with the Court an Affidavit of No Response together with a proposed Order to Dismiss.

The Court shall enter the Order without a hearing upon receipt of the Affidavit.



Served by: BJH       on: 01/18/2024
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                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MICHIGAN




IN RE:    PERRY G HOLDEN II                                     CASE NO: BG-23-01335
                                                                Chapter 13
                                                                HON. JAMES W. BOYD
                                                                Filed: June 09, 2023

                                    PROOF OF SERVICE

     On the date below, I mailed a copy of the TRUSTEE'S MOTION TO DISMISS by regular
first class mail to Debtor and electronic service on Debtor's Attorney .

PERRY G HOLDEN II
4694 WESTSHIRE DR NW
COMSTOCK PARK, MI 49321-9324
CHASE & BYLENGA PLLC
25 DIVISION AVE SOUTH STE 500
GRAND RAPIDS, MI 49503
    I declare that the above statements are true to the best of my information , knowledge, and
belief.


Dated:    January 18, 2024                             /s/ Beckie Hadley
                                                       Assistant to Barbara P. Foley
                                                       Chapter 13 Trustee
                                                       PO BOX 51109
                                                       KALAMAZOO, MI 49005
                                                       (269)343-0305
